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                           UNITED STATES DISTRICT COURT FOR THE
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                 CASE NO.: 21-cv-61684-MARTINEZ

  HOWARD COHAN,

          Plaintiff,

  v.

  SEVEN RESTAURANTS, LLC,
  A Foreign Limited Liability Company,
  d/b/a BURGER KING 6000,

        Defendant.
  _____________________________________/

                       FINAL ORDER OF DISMISSAL WITH PREJUDICE

          THIS MATTER is before the Court upon the Parties’ Joint Stipulation of Dismissal with
  Prejudice (the “Joint Stipulation”), (ECF No. 17). Having reviewed the record and being otherwise
  fully advised as to the premises, it is:
          ORDERED and ADJUDGED that:
          1.       This action is DISMISSED with prejudice. All parties shall bear their own
          attorney’s fees and costs.
          2.       The Court shall retain jurisdiction only to enforce the terms of the Parties’
          Settlement Agreement referenced in the Joint Stipulation, (ECF No. 17), because the
          Parties conditioned the Joint Stipulation upon the Court retaining jurisdiction over that
          matter. See Anago Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272, 1278–79 (11th Cir.
          2012).
          3.       All pending motions in this case are DENIED AS MOOT, and this case is
          CLOSED.
          DONE AND ORDERED in Chambers at Miami, Florida, this 26th day of October, 2021.



                                                      ___________________________________
                                                      JOSE E. MARTINEZ
                                                      UNITED STATES DISTRICT JUDGE
  Copies provided to:
  All Counsel of Record
